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                      IN THE UNITED STATES DISTRICT COURT
                          FOR THE DISTRICT OF COLUMBIA

MAVERICK GAMING LLC,
12530 NE 144th Street,
Kirkland, WA 98034

                      Plaintiff,

       v.

THE UNITED STATES OF AMERICA,
555 4th Street, NW, Washington, DC 20001,

UNITED STATES DEPARTMENT OF THE
INTERIOR,
1849 C Street, NW, Washington, DC 20240,

DEB HAALAND, in her official capacity as
Secretary of the Interior,
1849 C Street, NW, Washington, DC 20240,

BRYAN NEWLAND, in his official capacity
                                               Civil Action No. 1:22-cv-00068-FYP
as Assistant Secretary – Indian Affairs,
1849 C Street, NW, Washington, DC 20240,

JAY INSLEE, in his official capacity as the
Governor of Washington,
Office of the Governor, P.O. Box 40002,
Olympia, WA 98504,

ROBERT FERGUSON, in his official capacity
as the Attorney General of Washington,
1125 Washington Street, SE, P.O. Box 40100,
Olympia, WA 98504,

BUD SIZEMORE, in his official capacity as
Chair of the Washington State Gambling
Commission,
P.O. Box 42400, Olympia, WA 98504,
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JULIA PATTERSON, in her official capacity
as Vice-Chair of the Washington State
Gambling Commission,
P.O. Box 42400, Olympia, WA 98504,

ALICIA LEVY, in her official capacity as
Commissioner of the Washington State
Gambling Commission,
P.O. Box 42400, Olympia, WA 98504,

KRISTINE REEVES, in her official capacity
as Commissioner of the Washington State
Gambling Commission,
P.O. Box 42400, Olympia, WA 98504,

SARAH LAWSON, in her official capacity as
Commissioner of the Washington State
Gambling Commission,
P.O. Box 42400, Olympia, WA 98504,

STEVE CONWAY, in his official capacity as
ex officio member of the Washington State
Gambling Commission,
P.O. Box 42400, Olympia, WA 98504,

JEFF HOLY, in his official capacity as ex
officio member of the Washington State
Gambling Commission,
P.O. Box 42400, Olympia, WA 98504,

SHELLEY KLOBA, in her official capacity as
ex officio member of the Washington State
Gambling Commission,
P.O. Box 42400, Olympia, WA 98504,

BRANDON VICK, in his official capacity as
ex officio member of the Washington State
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P.O. Box 42400, Olympia, WA 98504,
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TINA GRIFFIN, in her official capacity as
Interim Director of the Washington State
Gambling Commission,
P.O. Box 42400, Olympia, WA 98504,

                      Defendants.


           MOTION FOR LEAVE TO FILE FIRST AMENDED COMPLAINT
            AND TO DROP THE WASHINGTON STATE DEFENDANTS

       Plaintiff Maverick Gaming LLC (“Maverick”), by and through its undersigned counsel,

hereby respectfully moves, pursuant to Rules 15(a)(2) and 21 of the Federal Rules of Civil

Procedure, for leave to file its First Amended Complaint and to drop the Washington State

defendants from this action. The points of law and authority supporting this motion are set forth

in the accompanying memorandum.


    Dated: March 10, 2022                         Respectfully submitted,


                                                   /s/ Theodore B. Olson

                                                   THEODORE B. OLSON
                                                      D.C. Bar No. 367456
                                                   MATTHEW D. MCGILL
                                                      D.C. Bar No. 481430
                                                   LOCHLAN F. SHELFER
                                                      D.C. Bar No. 1029799
                                                   GIBSON, DUNN & CRUTCHER LLP
                                                   1050 Connecticut Avenue, N.W.
                                                   Washington, D.C. 20036
                                                   Phone: 202.955.8668
                                                   Email: tolson@gibsondunn.com

                                                   Counsel for Maverick Gaming LLC
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                     Defendants.


               MEMORANDUM IN SUPPORT OF MOTION FOR LEAVE
               TO FILE FIRST AMENDED COMPLAINT AND TO DROP
                     THE WASHINGTON STATE DEFENDANTS
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       On February 24, 2022, the Washington State defendants (“State Defendants”) moved to

transfer this case to the Western District of Washington. The State Defendants argue that this

Court lacks personal jurisdiction over them and that transferring the case would serve the interests

of convenience and justice. See Dkt. 30-1. To eliminate any possible concerns, streamline the

issues before this Court, and promote judicial efficiency, Plaintiff Maverick Gaming LLC

(“Maverick”) is amending its complaint to drop the State Defendants and Counts Two and Three.

Maverick’s First Amended Complaint limits its challenge in this action to Count One of the initial

complaint, which requests relief against the federal defendants alone. Because defendants have

not yet filed an answer or a Rule 12 motion, Maverick is entitled to amend its complaint as of right.

See Fed. R. Civ. P. 15(a)(1)(B). But because there is a split of authority in this district on whether

a plaintiff may amend his complaint as of right pursuant to Rule 15(a)(1)(B) before a defendant

files an answer or Rule 12 motion, Maverick therefore moves, in the alternative, for leave to file

its First Amended Complaint pursuant to Federal Rule of Civil Procedure 15(a)(2). Finally,

because its First Amended Complaint would eliminate all claims against the State Defendants,

Maverick respectfully requests that this Court drop the State Defendants from this action pursuant

to Federal Rule of Civil Procedure 21. Maverick has conferred with the defendants pursuant to

D.D.C. Local Rule 7(m). The State Defendants oppose this request. The federal defendants take

no position.

                                         BACKGROUND

       On January 11, 2022, Maverick filed its initial complaint in this case. The initial complaint

brought three counts:     Count One alleged that the Secretary of the Interior violated the

Administrative Procedure Act (“APA”) by approving tribal-state gaming compact amendments

that give Indian tribes a monopoly over sports betting because those amendments violate the Indian

Gaming Regulatory Act (“IGRA”) and related federal statutes, the U.S. Constitution’s guarantee

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of equal protection, and the anticommandeering principle of the Tenth Amendment. Dkt. 1, at 34–

35 (Compl. ¶¶ 161–73).         Count Two challenged the State Defendants’ execution and

administration of the tribal-state compacts and compact amendments. Id. at 36–38 (Compl.

¶¶ 174–88). Count Three challenged the State Defendants’ racially discriminatory enforcement of

the State’s criminal prohibitions against most forms of class III gaming. Id. at 38–40 (Compl.

¶¶ 189–203).

       On February 24, 2022, the State Defendants moved to transfer this case to the Western

District of Washington. See Dkt. 30-1. The State Defendants argue that this Court should transfer

the case under 28 U.S.C. §§ 1631 and 1406 on the ground that this Court lacks personal jurisdiction

over them. See Dkt. 30-1, at 12–20. Alternatively, they argue that this Court should transfer the

case pursuant to 28 U.S.C. § 1404(a) on the grounds of convenience and the interest of justice.

See Dkt. 30-1, at 20–27.

                                           ARGUMENT

       The State Defendants’ motion to transfer would require the parties to litigate—and this

Court to decide—questions of jurisdiction and venue that are ancillary to the core legal questions

in this case. To avoid this unnecessary expenditure of resources and simplify the issues before this

Court, Maverick is amending its complaint to drop the State Defendants and to limit its challenge

in this action to Count One, which challenges the Secretary of the Interior’s approval of tribal-state

compact amendments that give Indian tribes a monopoly over sports betting in Washington. See

Fed. R. Civ. P. 15(a). These changes would moot many of the arguments in the State Defendants’

transfer motion, saving the parties and this Court the expense of litigating and deciding that motion.




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Maverick accordingly is filing its First Amended Complaint and requesting this Court to drop the

State Defendants from this action. 1

I.      Maverick Is Entitled To Amend Its Complaint As Of Right.

        Rule 15(a)(1)(B) provides that “[a] party may amend its pleading once as a matter of course

within . . . 21 days after service of a responsive pleading or 21 days after service of a motion under

Rule 12(b), (e), or (f), whichever is earlier” “if the pleading is one to which a responsive pleading

is required.” Fed. R. Civ. P. 15(a)(1)(B). Because a defendant is required to file an answer in

response to a complaint, Rule 15(a)(1)(B) permits Maverick to amend its original complaint once

as a matter of right any time before 21 days after service of an answer or Rule 12 motion. See

Hayes v. Buttigieg, 2021 WL 6619326, at *1 (D.D.C. May 3, 2021) (alteration in original) (quoting

Villery v. District of Columbia, 277 F.R.D. 218, 219 (D.D.C. 2011)) (noting that Rule 15(a)(1)(B)

gives a plaintiff “an absolute right to amend its complaint . . . at any time from the moment the

complaint is filed until [twenty-one] days after the earlier of the filing of a responsive pleading or

a motion under Rule 12(b), (e), or (f)”).

        Because no defendant has filed an answer or a Rule 12 motion, the 21-day clock has not

yet started and Maverick is entitled to amend its complaint to drop all claims against the State

Defendants as of right.

        Maverick notes, however, that some judges in this district have held that Rule 15(a)(1)(B)

permits a plaintiff to amend its complaint as a matter of right only after an answer or Rule 12

motion has been filed. See Borda v. Exec. Off. for U.S. Att’y, 125 F. Supp. 3d 196, 198–99 (D.D.C.

2015) (noting the “split of authority on [this] issue”); Jenkins v. Kerry, 928 F. Supp. 2d 122, 136


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     Maverick has attached its First Amendment Complaint as Exhibit 1 to this motion and has
     attached a redline comparison of the initial complaint and the First Amended Complaint as
     Exhibit 2.



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(D.D.C. 2013) (holding that a plaintiff was not entitled to amend her complaint as of right under

Rule 15(a)(1)(B) before the defendants filed their motion to dismiss).

       The authorities recognizing that Rule 15(a)(1)(B) permits a plaintiff to amend his

complaint any time before the filing of an answer or Rule 12 motion are correct. A previous

version of Rule 15 “guarantee[d] a plaintiff an absolute right to amend its complaint once at any

time before the defendant has filed a responsive pleading.” James V. Hurson Assocs., Inc. v.

Glickman, 229 F.3d 277, 282–83 (D.C. Cir. 2000). But this rule had a different effect depending

on the means a defendant used to attack the pleading: service of a responsive pleading immediately

terminated the right to amend, but service of a motion attacking the pleading did not. Fed. R. Civ.

P. 15(a)(1) advisory committee’s note to 2009 amendment.

       To eliminate this differential treatment, Rule 15(a)(1) was amended in 2009 to (1) provide

that the right to amend as a matter of course terminates 21 days after the service of a Rule 12

motion, whereas such motions previously did not affect the right; and (2) provide that the right to

amend as a matter of course also terminates 21 days after the service of a responsive pleading,

whereas service of a responsive pleading previously terminated the right immediately. Id. The

2009 amendment also extended from 20 to 21 days “the period to amend a pleading to which no

responsive pleading is allowed.” Id.

       There is no indication that the 2009 amendment to Rule 15(a)(1) eliminated a plaintiff’s

traditional right to amend his complaint at any time before the filing of a required responsive

pleading. Instead, Rule 15(a)(1), properly construed, sets two different deadlines by which a party

may amend a pleading as of right, depending on whether it is one that requires a responsive

pleading. If no responsive pleading is required, a party has 21 days after serving his pleading to

amend it as of right. Fed. R. Civ. P. 15(a)(1)(A). But if a pleading requires a responsive pleading




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(as Maverick’s complaint does), a party may amend it as of right any time before 21 days after

service of a responsive pleading or Rule 12 motion. Fed. R. Civ. P. 15(a)(1)(B). Maverick is thus

entitled to amend its complaint as a matter of right and drop the claims against the State

Defendants.

II.    In The Alternative, This Court Should Grant Maverick Leave To Amend Its
       Complaint.

       Should the Court determine that Maverick requires leave to amend its complaint, this Court

should grant leave. Rule 15(a)(2) instructs that “[t]he court should freely” allow amendment

“when justice so requires.” In considering whether to grant a motion for leave to amend a

complaint, a court considers: “(1) undue delay; (2) prejudice to the opposing party; (3) futility of

the amendment; (4) bad faith; and (5) whether the plaintiff has previously amended the complaint.”

Levinson v. Wilmer Cutler Pickering Hale & Dorr LLP, 999 F. Supp. 2d 226, 227 (D.D.C. 2013).

“[A] district court should grant leave to amend a complaint” in the absence of any such factors.

Atchinson v. District of Columbia, 73 F.3d 418, 425 (D.C. Cir. 1996). Because none of these

factors are present, and because Maverick’s proposed amendments to its complaint would simplify

the issues before this Court and resolve many of the concerns in the State Defendants’ transfer

motion, this Court should grant Maverick leave to amend its complaint.

       Maverick has not delayed in moving to amend its complaint, but has promptly done so

within the time period for responding to the State Defendants’ transfer motion. Nor has Maverick

previously amended its complaint. And no party will be prejudiced by Maverick’s amended

complaint. First, Maverick’s amended complaint removes all claims against the State Defendants

and drops them from the action. Far from prejudicing them, Maverick’s amended complaint

benefits the State Defendants by voluntarily dismissing them from this litigation.         Second,

Maverick’s amended complaint will not prejudice the federal defendants because they would have



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to answer Maverick’s APA claim against them regardless of whether the claims against the State

defendants remain in this litigation.

       Maverick’s proposed amendments also are neither futile nor made in bad faith. On the

contrary, Maverick is proposing to drop the two counts against the State Defendants in a good-

faith effort to resolve any possible concerns raised by the State Defendants in their transfer motion

and to avoid unnecessary litigation. Maverick’s First Amended Complaint would no longer

challenge the State Defendants’ execution or administration of the tribal-state gaming compacts or

their enforcement of Washington’s criminal prohibition of most forms of class III gaming. Instead,

the First Amended Complaint would argue only that the U.S. Secretary of the Interior’s approval

of tribal-state compact amendments giving Indian tribes a monopoly over sports betting violates

federal statutory and constitutional law.

       The State Defendants note that Counts Two and Three “likely involve only the State

Defendants,” and that any necessary witnesses and proof on these claims are likely to be located

in Washington State. Dkt. 30-1, at 26. Maverick’s First Amended Complaint obviates these

concerns by removing those counts and limiting its challenge to the actions of the federal

defendants in the District of Columbia.

       Additionally, Maverick’s removal of the State Defendants from its First Amended

Complaint moots their argument that this Court lacks personal jurisdiction over them. See Dkt.

30-1, at 12–20. Because Maverick’s amended complaint would resolve the State Defendants’

concerns and avoid unnecessary litigation over jurisdiction and venue by focusing on the actions

committed by federal officials in this district, the Court should grant Maverick leave to amend its

complaint.




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III.    This Court Should Drop The State Defendants From This Action.

        For the same reasons that this Court should permit Maverick to amend its complaint (if it

determines that leave is required), it should also drop the State Defendants from this action. Rule

21 of the Federal Rules of Civil Procedure provides: “On motion or on its own, the court may at

any time, on just terms, add or drop a party.” Because the only claim remaining in Maverick’s

First Amended Complaint is its APA challenge to the Secretary of the Interior’s approval of

Washington’s tribal-state sports-betting compact amendments, it would be just to drop the State

Defendants from this challenge to federal agency action. See Crane v. Carr, 814 F.2d 758, 761

(D.C. Cir. 1987) (opinion of Ruth Bader Ginsburg, J.) (noting that “defendants are appropriately

dropped from the party lineup” because the plaintiff “is pursuing no relief against them”).

Dropping the State Defendants would not prejudice them. Indeed, they argue that this Court has

no personal jurisdiction over them, Dkt. 30-1, at 13–17, so they cannot simultaneously claim that

dismissing them from this action would prejudice them.          As explained above, the federal

defendants would not be prejudiced either because they will have to answer Maverick’s APA claim

against them whether or not the State Defendants remain in this case.

        Therefore, Maverick asks that this Court drop the following defendants from this action:

        •   Jay Inslee, in his official capacity as the Governor of Washington;

        •   Robert Ferguson, in his official capacity as the Attorney General of Washington;

        •   Bud Sizemore, in his official capacity as Chair of the Washington State Gambling
            Commission;

        •   Julia Patterson, in her official capacity as Vice-Chair of the Washington State
            Gambling Commission;

        •   Alicia Levy, in her official capacity as Commissioner of the Washington State
            Gambling Commission;




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        •   Kristine Reeves, in her official capacity as Commissioner of the Washington State
            Gambling Commission;

        •   Sarah Lawson, in her official capacity as Commissioner of the Washington State
            Gambling Commission;

        •   Steve Conway, in his official capacity as ex officio member of the Washington State
            Gambling Commission;

        •   Jeff Holy, in his official capacity as ex officio member of the Washington State
            Gambling Commission;

        •   Shelley Kloba, in her official capacity as ex officio member of the Washington State
            Gambling Commission;

        •   Brandon Vick, in his official capacity as ex officio member of the Washington State
            Gambling Commission; and

        •   Tina Griffin, in her official capacity as Interim Director of the Washington State
            Gambling Commission.

                                         CONCLUSION

        For these reasons, Maverick respectfully requests that this Court grant it leave to file its

First Amended Complaint and drop the State Defendants from this action. 2




 2
     After Maverick filed its complaint on January 11, 2022, it converted from a Nevada limited
     liability company to a Washington limited liability company. Maverick has also revised the
     complaint to reflect that change.



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Dated: March 10, 2022                Respectfully submitted,


                                     /s/ Theodore B. Olson

                                     THEODORE B. OLSON
                                        D.C. Bar No. 367456
                                     MATTHEW D. MCGILL
                                        D.C. Bar No. 481430
                                     LOCHLAN F. SHELFER
                                        D.C. Bar No. 1029799
                                     GIBSON, DUNN & CRUTCHER LLP
                                     1050 Connecticut Avenue, N.W.
                                     Washington, D.C. 20036
                                     Phone: 202.955.8668
                                     Email: tolson@gibsondunn.com




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